Case 14-01264-5-JNC        Doc 28 Filed 11/19/18 Entered 11/19/18 09:23:18              Page 1 of 2

                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                             FAYETTEVILLE DIVISION

 IN RE:
 TERESA JEAN HOPE                                    CASE NO.: 14-01264-5-JNC
                                                     CHAPTER 13

        DEBTOR

                        NOTICE OF FINAL CURE PAYMENT AND
                      COMPLETION OF PAYMENTS UNDER THE PLAN

 Pursuant to Fed. Bankr. Rule 3002.1(f), the Trustee files Notice that the amount required to cure
 the default in the above claim has been paid in full and that the Debtor has completed all
 payments under the plan.

 Creditor Name and Address: Seterus, Inc.
                            Attn: Bank Officer/Managing Agent
                            P.O. Box 1047
                            Hartford, CT 06143



 Last four digits of any number used to identify the debtor’s account: 2737

    1. The debtor having made all payments necessary to complete the plan, the Trustee reports
       that the mortgage account is contractually current through November, 2018, with the next
       payment due December 1, 2018. The total amount due on this mortgage as of
       December 2018 is calculated to be $45,428.55.

    2. In addition to the contractual post-petition mortgage payments, Seterus, Inc. was also
       allowed a pre-petition arrearage claim in the amount of $1,104.07. This claim has been
       paid in full.

    3. On or before December 13, 2018, the creditor must file and serve a statement on the
       debtor, debtor’s counsel and the trustee, pursuant to Fed. Bankr. Rule 3002.1(g),
       indicating whether it agrees that the debtor has paid in full the amount required to cure
       the default and whether, consistent with §1322(b)(5), the debtor is otherwise current on
       all payments or be subject to further action of the court including possible sanctions.

   THE DEBTOR IS DIRECTED TO STOP PAYMENTS TO THE CHAPTER 13 TRUSTEE
   AND TO BEGIN PAYING MORTGAGE PAYMENTS AS OF DECEMBER 1, 2018 IN THE
   AMOUNT OF $576.27 TO THE CREDITOR AT THE ABOVE ADDRESS.

        November 19, 2018                            s/Joseph A. Bledsoe, III
                                                     JOSEPH A. BLEDSOE, III
                                                     Chapter 13 Trustee
                                                     PO Box 1618
                                                     New Bern, NC 28563
Case 14-01264-5-JNC        Doc 28 Filed 11/19/18 Entered 11/19/18 09:23:18              Page 2 of 2

                                      CERTIFICATE OF SERVICE


        I, Joseph A. Bledsoe, III Trustee, of P.O. Box 1618, New Bern, NC, 28563, do certify:

        That I am and was at all times hereinafter referred to more than eighteen (18) years of
 age; and

        That I have this day served a copy of the Notice of Final Cure Payment and Completion
 of Payments Under the Plan by depositing a copy of the same in a postage-paid envelope with
 the United States Postal Service or by electronic means, as indicated.

 DEBTOR:        Teresa J. Hope                       (via first-class mail)
                201 Mill Creek Church Rd.
                Roseboro, NC 28382


 ATTORNEY: Kevin J. Kiernan                          (via cm/ecf)
           Attorney at Law


 CREDITOR: Seterus, Inc.                     (via certified mail, return receipt requested)
           Attn: Bank Officer/Managing Agent
           P.O. Box 1047
           Hartford, CT 06143


                Shapiro & Ingle, L.L.P.           (via first-class mail)
                Attn: William P. Harris
                10130 Perimeter Parkway, Ste. 400
                Charlotte, NC 28216




 DATED: November 19, 2018
                                                     s/Joseph A. Bledsoe, III
                                                     JOSEPH A. BLEDSOE, III
                                                     Chapter 13 Trustee
                                                     PO Box 1618
                                                     New Bern, NC 28563
